     Case 2:14-cv-00672-SSV-KWR Document 55 Filed 04/16/15 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

GLENN LEFORT                                                            CIVIL ACTION

VERSUS                                                                  NO. 14-672

LAFOURCHE PARISH FIRE PROTECTION                                        SECTION "R"
DISTRICT NO. 3, ET AL.



                                 ORDER OF DISMISSAL

         The Court having been advised by counsel for all parties that they have firmly agreed

upon a compromise in this matter;

         IT IS ORDERED that this action be and it is hereby dismissed as to all parties,

without costs and without prejudice to the right, upon good cause shown, within sixty days,

to reopen the action if settlement is not consummated. In addition, the Court specifically

retains jurisdiction to enforce the settlement agreement if settlement is not consummated

in sixty days. See Fed. R. Civ. P. 41(a)(2); Kokkonen v. Guardian Life Ins. Co. of Am., 511

U.S. 375, 381-82 (1994); Hospitality House, Inc. v. Gilbert, 298 F.3d 424, 430 (5th Cir.

2002).

         COUNSEL ARE REMINDED THAT, IF WITNESSES HAVE BEEN

SUBPOENAED, EVERY WITNESS MUST BE NOTIFIED BY COUNSEL NOT

TO APPEAR.


                New Orleans, Louisiana, this 16th day of April, 2015.



                     ________________________________
                               SARAH S. VANCE
                        UNITED STATES DISTRICT JUDGE
